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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                               Chapter 11

YELLOW CORPORATION, et al., 1                        Case No. 23-11069 (CTG)
                                                     (Jointly Administered)
                  Debtors.
                                                     Re: Docket No. 968


CROWN ENTERPRISES, INC.’S, CROWN ENTERPRISES, LLC’S, AND DAUNTLESS
ULC’S (A/K/A CROWN ENTERPRISES) OBJECTION TO NOTICE OF POTENTIAL
       ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR
      LEASES ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

         Crown Enterprises, Inc., Crown Enterprises, LLC, and Dauntless ULC (A/K/A Crown

Enterprises) (collectively, “Crown Enterprises”), through counsel, for their Objection to Notice

Of Potential Assumption And Assignment Of Certain Contracts Or Leases Associated With The

Non-Rolling Stock Assets (“Cure Notice”) [ECF No. 968] state:

         1.    Crown Enterprises and Debtors are parties to three lease terminal agreements: (i)

200 Cayuga Avenue, Altoona, PA 16602 between Crown Enterprises, Inc. and Debtor New Penn

Motor Express LLC; (ii) 70 Graham Street, McKees Rocks, PA 15136 between Crown

Enterprises, LLC and Debtor YRC, Inc.; and (iii) 6130 Netherhart Road, Mississauga, ON,

Canada L5T 1B7 between Dauntless ULC (a/k/a Crown Enterprises) and Debtor YRC Freight

Canada Company.

         2.    The cure costs identified by Debtors regarding the McKees Rocks, PA and

Mississauga, ON, Canada locations are understated. Regarding McKees Rocks, PA, Debtors



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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the
website     of    the     Debtors'     proposed     claims      and   noticing     agent     at
https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of business
and the Debtors' service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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identify a cure amount of $49,036, while the correct cure amount is $156,555.75 ($145,623.76

pre-petition and $10,931.99 post-petition).     Regarding Mississauga, ON, Canada, Debtors

identify a cure amount of $225,750, while the correct cure amount is $627,112.21 ($194,565.10

pre-petition and $432,547.11 post-petition). Crown Enterprises does not object to the stated cure

amounts regarding the Altoona, PA location.

       3.      Regarding adequate assurance of future performance, Crown Enterprises

understands that the auction deadline associated with Non-Rolling Stock Assets will not occur

until after the cure objection deadline and that the deadline to assert adequate assurance

objections is December 8, 2023. Crown Enterprises therefore reserves the right to file an

adequate assurance objection, if necessary.

                                          OBJECTION

       4.      Section 365(b) of the Bankruptcy Code requires a debtor to fully cure all defaults

existing at the time of assumption before assuming an executory contract and to provide

adequate assurance of future performance under the contract. See 11 U.S.C. §365(b)(1); In re

DBSI, Inc., 405 B.R. 698, 704 (Bankr. D. Del. 2009) (“Pursuant to 11 U.S.C. § 365(b)(1), if there

has been a default under an unexpired lease of a debtor and the debtor wants to assume and

assign the lease, the debtor must: (A) cure the default, or provide adequate assurance that it will

promptly cure the default; (B) compensate, or provide adequate assurance the it will promptly

compensate, the non-debtor party to the lease for any actual pecuniary loss resulting from the

debtor's default; and (C) provide adequate assurance of future performance under the lease. The

purpose of § 365(b)(1) is ‘to restore the ‘debtor-creditor relationship . . . to pre-default

conditions,’ bringing the [loan] back into compliance with its terms.”) (citations omitted). Cure




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includes both pre-petition and post-petition defaults. See In re Burger Boys, 94 F.3d 755, 763 (2d

Cir. 1996).

       5.      As discussed above, the cure amounts regarding the McKees Rocks, PA and

Mississauga, ON, Canada locations are understated. McKees Rocks, PA should be $156,555.75

and Mississauga, ON, Canada should be $627,112.21.

       6.      Crown Enterprises reserves the right to amend, supplement, or otherwise modify

this Objection, to file and prosecute an adequate assurance objection, and to raise further

objections to the assumption and assignment or cure amounts with respect to any contract

between Debtors and Crown Enterprises.

       WHEREFORE, Crown Enterprises requests that the Court sustain this Objection and

grant Crown Enterprises such additional relief that is just and equitable.



Dated: November 9, 2023                       CROSS & SIMON, LLC

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                                              Enterprises, LLC, and Dauntless ULC




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